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7
8                               UNITED STATES DISTRICT COURT
9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN JOSE DIVISION

11    JESSICA DOMINGUEZ, INDIVIDUALLY                  Case Number: 5:18-cv-04826-BLF
      AND AS GUARDIAN AD LITEM FOR
12    JACOB DOMINGUEZ, JORDAN                          DECLARATION OF KEITH NEUMER
      DOMINGUEZ AND JALIYAH                            IN SUPPORT OF CITY OF SAN JOSE’S
13    DOMINGUEZ,
                                                       MOTION FOR SUMMARY JUDGMENT
14                        Plaintiffs,
                                                       Date:         April 21, 2022
15                 v.                                  Time:         9:00 a.m.
16                                                     Room:         Courtroom 3, 5th Floor
      CITY OF SAN JOSE, SAN JOSE POLICE
      DEPARTMENT and DOE POLICE                        Judge:        Hon. Beth Labson Freeman
17    OFFICERS 1, 2 AND 3, and DOES,
      inclusive,                                       Trial Date:   August 22, 2022
18
                          Defendants.
19
20         I, Keith Neumer, declare:
21         1.     I have personal knowledge of each of the facts set forth in this declaration
22   and can testify competently thereto.
23         2.     I am employed as a Sergeant with the San Jose Police Department (“SJPD”)
24   and have been an SJPD officer since January 2000. I currently serve as an Investigator in
25   the Office of the City Attorney, a position I have held since January 2019.
26         3.     Since approximately early 2017, uniformed SJPD patrol officers have been
27   equipped with body worn cameras, which record video and audio when activated.
28   Cameras are assigned by serial number to each officer. SJPD policy provides that officers
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      DECLARATION OF KEITH NEUMER IN SUPPORT OF                            Case No. 5:18-cv-04826-BLF
30    CITY OF SAN JOSE’S MOTION FOR SUMMARY JUDGMENT
                                                                                   Draft Neumer Decl_
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1    activate their cameras when initiating enforcement encounters and arrests, among other

2    activities. Most officers attach the cameras to the chest area of their uniforms.

3           4.     Officers are generally expected to upload files to an SJPD-specific site

4    hosted by evidence.com from their cameras during or at the conclusion of their shifts. An

5    officer executes this task by removing the camera from his or her uniform and placing the

6    camera in a docking station. The docking station automatically retrieves any data from the

7    camera, removes the data from the camera, and places it onto the evidence.com server.

8    Once the files are removed from the camera and saved on the server, the files cannot be

9    deleted or redacted by the officer and no longer exist on the camera itself. At that point,

10   the files can only be viewed by the officer on the evidence.com website. Access to this

11   site is controlled by a user name and password.

12          5.     I am familiar with SJPD’s process for collecting, storing, and organizing body

13   worn camera files uploaded by officers in the regular course of SJPD’s activities. Files are

14   accessed through the SJPD-specific site hosted by evidence.com. For each file, the site

15   identifies the serial number of the camera it was uploaded from and displays the officer to

16   whom that camera is assigned. The site also identifies when each file was uploaded.

17   Files are associated on that site with the SJPD incident number to which they relate.

18          6.     The September 15, 2017 incident resulting in the officer-involved shooting of

19   Jacob Dominguez is SJPD incident number 17-258-0283. In the course of my duties, I

20   retrieved body worn camera files associated with that incident number, including attached

21   Exhibits 1 through 5.

22          7.     Attached as Exhibit 1 is a true and correct copy of an excerpt of a file

23   uploaded from the body worn camera assigned to Officer Michael Pina on September 15,

24   2017. The City of San Jose produced the complete file to Plaintiffs in this litigation with

25   bates number SJ1764.

26          8.     Attached as Exhibit 2 is a true and correct copy of an excerpt of a file

27   uploaded from the body worn camera assigned to Officer Kristopher Ferguson on

28   September 15, 2017. The City of San Jose produced the complete file to Plaintiffs in this

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      DECLARATION OF KEITH NEUMER IN SUPPORT OF                              Case No. 5:18-cv-04826-BLF
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1    litigation with bates number SJ1766.

2           9.       Attached as Exhibit 3 is a true and correct copy of an excerpt of a video file

3    obtained from an area resident depicting the scene of the incident on September 15, 2017.

4    The City of San Jose produced the complete file to Plaintiffs in this litigation with bates

5    number SJ1664.

6           10.      Attached as Exhibit 4 is a true and correct copy of a photograph taken by

7    SJPD investigators at the scene following the officer-involved shooting. The photo has

8    been altered to obscure the face of the deceased subject. The City of San Jose produced

9    the unaltered photograph to Plaintiffs in this litigation with bates number SJ0424.

10          11.      Attached as Exhibit 5 is a true and correct copy of a warrant for the arrest of

11   Jacob Dominguez dated September 14, 2017. Personally identifying information of Jacob

12   Dominguez is redacted from the document. The City of San Jose produced the unredacted

13   document to Plaintiffs in this litigation with bates number SJ1886.

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15
16                I declare under penalty of perjury under the laws of the State of California that

17                                                                                     14
     the foregoing is true and correct and that this declaration was executed on March ___,

18   2022 in San José, California.

19                                                             SGT. KEITH NEUMER
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29                                            3
      DECLARATION OF KEITH NEUMER IN SUPPORT OF                                Case No. 5:18-cv-04826-BLF
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